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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

U.S. BANK NA, SUCCESSOR TRUSTEE                   §
TO BANK OF AMERICA, NA,                           §
SUCCESSOR IN INTEREST TO                          §
LASALLE BANK NATIONAL                             §
ASSOCIATION, AS TRUSTEE, ON                       §
BEHALF OF THE HOLDERS OF THE                      §
BEAR STEARNS ASSET BACKED                         §
SECURITIES I TRUST 2004-HE10,                     §
ASSET-BACKED CERTIFICATES,                        §
SERIES 2004-HE-10,                                §         Civil Action No. 4:22-cv-01120
      Plaintiff,                                  §
                                                  §
v.                                                §
                                                  §
ISRAEL F. CADENA and                              §
SANDRA CADENA,                                    §
     Defendants.                                  §

               PLAINTIFF’S MOTION FOR CONTINUANCE OF INITIAL
                   PRETRIAL AND SCHEDULING CONFERENCE

       COMES NOW Plaintiff U.S. Bank NA, successor trustee to Bank of America, NA,

successor in interest to Lasalle Bank National Association, as trustee, on behalf of the holders of

the Bear Stearns Asset Backed Securities I Trust 2004-HE10, Asset-Backed Certificates, Series

2004-HE-10 (“Plaintiff” or “U.S. Bank”) files this, its Motion for Continuance of Initial Pretrial

and Scheduling Conference (“Motion”), and respectfully show as follows:

       1.      Plaintiff filed its Original Complaint (“Complaint”) in this action against

Defendants Israel F. Cadena and Sandra Cadena (“Defendants”). (ECF Document No. 1.) All

Defendants have been served and no answer has been filed on behalf of any of them. (ECF

Documents No. 10 and 11.)




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        2.     An Initial Pretrial and Scheduling Conference is currently set for August 26,

2022, at 10:30 am. (ECF Document No. 12.) Defendants recently submitted a completed loss

mitigation application which is currently being reviewed by Plaintiff.

        3.     As a result, Plaintiff is requesting a thirty-day (30) continuance of the Initial

Conference to avoid wasting the time and resources of this Court while Plaintiff is reviewing

Defendants’ loss mitigation application.

        4.     This request is not sought for purposes of delay, but so that justice may be done.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court grant this

Motion and continue the Initial Conference, and for such other relief to which Plaintiff may be

entitled.

                                                     Respectfully submitted,

                                                  By: /s/ Nciholas M. Frame
                                                     MARK D. CRONENWETT
                                                     Texas Bar No. 00787303
                                                     Southern District No. 21340
                                                     mcronenwett@mwzmlaw.com

                                                      NICHOLAS M. FRAME
                                                      Texas Bar No. 24093448
                                                      Southern District No. 3121681
                                                      nframe@mwzmlaw.com

                                                    MACKIE WOLF ZIENTZ & MANN, P.C.
                                                    14160 N. Dallas Parkway, Suite 900
                                                    Dallas, Texas 75254
                                                    214-635-2650 (Phone)
                                                    214-635-2686 (Fax)

                                                    ATTORNEYS FOR PLAINTIFF




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                          CERTIFICATE OF CONFERENCE

       The undersigned certifies that no Defendants have filed an answer and/or otherwise
appeared in this action. Therefore, a certificate of conference is not necessary.

                                               /s/ Nicholas M. Frame
                                               NICHOLAS M. FRAME




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